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                                   NORTHERN DISTRICT OF CALIFORNIA
11
      INNOVATION LAW LAB, et al.,                       CASE NO.: 3:19-CV-00807-RS
12
                     Plaintiffs,                        PROPOSED ORDER REGARDING
13                                                      PARTIES’ JOINT STATUS REPORT AND
                                                        REQUEST TO CONTINUE HOLDING
14                   v.                                 ORDER TO SHOW CAUSE IN
                                                        ABEYANCE
15    ALEJANDRO MAYORKAS, et al.,

16                   Defendants.
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     PROPOSED ORDER REGARDING PARTIES’ JOINT STATUS REPORT AND REQUEST TO
       CONTINUE HOLDING ORDER TO SHOW CAUSE IN ABEYANCE, CASE NO. 3:19-cv-
                                   00807-RS
        Case 3:19-cv-00807-RS Document 135-1 Filed 08/30/21 Page 2 of 3




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         Case 3:19-cv-00807-RS Document 135-1 Filed 08/30/21 Page 3 of 3



                                            PROPOSED ORDER
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 2          The Parties Joint Request to Continue to Hold the Order to Show Cause in Abeyance is

 3   hereby granted. The Parties will file a status report with the Court on September 13, 2021.

 4   IT IS SO ORDERED.
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      Date _________________                             _________________________
 7                                                       Hon. Judge Richard Seeborg
                                                         U.S. District Court Judge
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     PROPOSED ORDER REGARDING PARTIES’ JOINT STATUS REPORT AND REQUEST TO
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